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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


 UNITED STATES OF AMERICA


    V.                                       CASE NO.:


 JONATHAN MORRIS HURWITZ,                    FILED UNDER SEAL


    Defendant.


                                      ORDER


         The Court having considered the Government's Motion to Seal, hereby

GRANTS the motion and ORDERS that the Complaint and arrest warrant and its

related papers, the motion of the Government, and this Order by SEALED until

further order of the Court.


         This 15th day of September, 2016.




                                             Brian K. Eppj
                                              United States* Magistrate Judge
                                             Southern District of Georgia
